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REPORT PREPARED
IN COMPLIANCE WITH RULE 26

PREPARED BY: William M. Drechsel / Drex Executive Protection

DATE: Seovtember 16, 2009

RE: Only Al-Khidhr v. Harrison County, Mississippi, Et. Al.
United States District Court, Southern District of Mississippi,
Southern Division / Cause No.: 1:07cv1223LG-RHW

BASIS FOR OPINIONS REACHED:

The opinions expressed in this Report are based upon the materials provided, and my
educational background and experience. An updated CV, Fee Schedule and List of Cases
ui which I have previously testified are provided in connection with this report. I reserve
the right to update and amend this report as additional information becomes available to
me.

DOCUMENTS & OTHER ITEMS REVIEWED IN FORMING MY OPINIONS:

e Arrest and Police Reports
¢ Booking Form

* Nurse’s Notes/Report

e Use of Force Report

e Amended Complaint(s)

e Answer and Affirmative Defenses

e Pre-Discovery Disclosures

e Prior Criminal History of the Defendant

e Transcripts Associated with Federal Criminal Cases
e Interrogatories and Answers

e Photographs and Video

e Newspaper and Television Articles

e Federal Consent Decree

OPINIONS REACHED:

FIRST OPINION: Corrections Officers acted improperly by insisting that Al-Khidhr
shower and dress-out, while still intoxicated. The industry standard is that Al-Khidhr
should have been checked for contraband and/or weapons (while still in street clothes)

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and placed into the appropriate “holding cell” to allow for the effects of the intoxicants to
dissipate, before insisting upon the continuation of the booking process.

SECOND OPINION: The Narrative by Officer Moore relates that Al-Khidhr suffered
strikes to the brachial plexus (neck area), strikes to the common peroneal (upper leg
area), and Was pepper sprayed. ihese actions by Correction Officers Moore and
Thompson do not account for the physical damage Al-Khidhr sustained to his body.
Thus the Narrative either is lacking in detail as to what exactly transpired, or the
information related therein is falsified.

THIRD OPINION: The “Use of Force Report” is incomplete and is not signed off on
by a reviewing Shift Lieutenant. Thus, I cannot conclude who wrote the “Use of Force
Report”. Furthermore, each Corrections Officer involved should have submitted a
separate “Use of Force Report” and Narrative each. In this case we only have one
incomplete report, which has not been signed off upon.

FOURTH OPINION: Corrections Officers used “excessive force” with a passive, non-
compliant, pre-trial detainee. Photographs show that Al-Khidhr suffered bruising,
lacerations, swelling and disfigurement to the head, face and neck. Had proper
correctional methods been used, Al-Khidhr would not have suffered these injuries.

FIFTH OPINION: There is a history of abuse and misuse of force at the HCADC. This
is demonstrated by the HCADC operating under a Federal Consent Decree, correction
officers failure to follow proper procedures, falsification of reports, guilty pleas and
incarceration of corrections officers in federal prison(s).

SIXTH OPINION: The working conditions at the HCADC greatly contributed to a
theme of violence. This is supported by the corrections officers regularly referring to the
HCADC as, “The House of Payne”’, having “Theme Nights”, staff shortages, poor air
quality, lack of properly working equipment(such as door locks), unsanitary conditions
and no meal or rest breaks for officers.

SEVENTH OPINION: The Sheriff and his upper ranking administrative staff failed or
refused to discipline and/or terminate staff who abused “Pre-Trial Detainees”, inmates, or

participated in the covering up thereof.

1 This was a play on words, as the Sheriff's last name was “Payne”; and physical injury is “pain.”
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As previously stated herein, I reserve the right to update and amend this report as
additional information becomes available to me.

La PO: Zee? ELLOEPALE Je, ROO &
William M. Drechsel Date
Drex Executive Protection
